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                             UNITED STATES POSTAL INSPECTION SERVICE
                             Security Group

                    OMC - Section B. Processing and Distribution (P&DC/NDC/Other Processing Facilities)
Walk the facility and observe the conditions of mail and consideration items listed below. As appropriate, locate a manager and work with
them to identify your answers to the questions below. Include comments for all answers of NO or NA.
Inspector:                                         Date:             Division:
ITEM      MAIL CONDITION OBSERVED                       Y/N/NA                         ITEMS FOR CONSIDERATION
       EM/PM "ALL CLEAR" certification                               Ask to see the previous day's ALL CLEAR; or check for ALL
 B1                                                 -
       done on previous day?                                         CLEAR in USPS BLUE. https://facilitycerts.usps.gov/.

Comments:
       EM/PM log is present and properly                             Ask to see the "Plant Political/Election Mail Log" at the dock.
 B2                                                 -
       completed?                                                    Verify it is current, complete and accurate. All Acceptance
                                                                     Employees are required to record every qualified EM/PM
Comments:                                                            mailing accepted in the log.
       EM/PM samples, copies, or                                      The expeditor receives the paperwork from the driver.
 B3                                                 -
       descriptions are kept/recorded?                                He validates the count and keeps a copy and gives a copy to
                                                                      the driver.
Comments:
       EM/PM is moved to staging area                                EM/PM can only move from docks to the EM/PM staging area
 B4                                                 -
       or positioned for processing?                                 or positioned by machines for processing. Plants should have
                                                                     staging areas clearly marked for EM/PM.
Comments:
       EM/PM is found outside the staging                            Observe: docks, opening unit, 010, manual flat/letter sorting,
 B5                                                 -
       or processing area?                                           pouching/sack operations, other staging areas, express, registry,
                                                                     all non-floor areas, storage, offices, break rooms, etc.
Comments:
       EM/PM is found delayed? Verify                                Scan a sampling of barcode labels on placards/trays. If DELAYED
 B6                                                 -
       with "Mail History" app scans                                 EM/PM is found, annotate pieces/volumes in the comments
                                                                     section and the narrative.
Comments:
       EM/PM is found unworked in Nixie/                             Verify EM/PM in NIXIE is being worked expeditiously.
 B7                                                 -
       Hazmat unit?

Comments:
       EM/PM is being handled                                        Ensure every effort is made to process EM expeditiously.
 B8                                                 -
       expeditiously?                                                Confirm it is processed in order of arrival. EM staging areas are
                                                                     expected. If First In/First Out is applies, clearance tags should
Comments:                                                            be used.
       EM with postage due is handled                                No Election Mail (ballots) can be held for postage due.
 B9                                                 -
       properly?

Comments:
       Tag 191 (EM/GREEN) and Tag 57                                 Use of Tags 191 and 57 is OPTIONAL. Tags identify trays and
B10                                                 -
       (PM/RED) are being used?                                      sacks as containing ballots (only), or PM, and increase visibility
                                                                     in the network. Once EM/PM is co-mingled in processing, tags
Comments:                                                            are generally not expected.
                                                                       1
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ITEM        MAIL CONDITION OBSERVED                Y/N/NA                       ITEMS FOR CONSIDERATION
        Postal manager was briefed?                           A manager for the facility should be briefed of the observations
B11                                            -              and any issues that need addressed.

Comments:


                    OMC - Section B. Processing and Distribution (P&DC/NDC/Other Processing Facilities)
After observing all conditions, completing the questions, and briefing the manager of your findings, write your narrative
summary below. Describe any observations of note, approximate volumes of delayed or curtailed EM/PM, or issues needing
addressed. This portion and your report narrative is required and included in the OMC Executive Summary Report.

Facility:                                                     Manager Briefed:
Facility Address:
Date:                                                       Time:
                                                   OMC REPORT NARRATIVE
(Insert narrative here)




                                                                2
